           Case 3:07-cr-00060-SDD-EWD                  Document 93          06/07/21 Page 1 of 6




                                UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA CRIMINAL ACTION

VERSUS
                                                                              NO. 7-60-SDD-EWD
TERRENCE J. MOORE
                                                   ORDER

         This matter is before the Court on a Motion for Sentence Reduction Pursuant to 18 U.S.C.


§ 3582(c) filed by Defendant, Terrence J. Moore ("Defendant"). The Government opposes this


motion. For the following reasons, the motion is denied.


                                                 Background


         Defendant is currently incarcerated at Federal Correctional Institution in Beaumont, Texas


("FCI Beaumont Low") following his guilty pleas to gun and drug offenses. His projected release


date is July 8, 2027. The Defendant now moves for a reduction in sentence pursuant to 18 U.S.C.


§ 3582(c)(l)(A)(i), claiming that his serious medical conditions are "extraordinary and

compelling" reasons to reduce his sentence.


                                             Law and Analysis

         A judgment, including a sentence of imprisonment, may not be modified by a district

court except in limited circumstances." Under 18 U.S.C. § 3582(c), a court generally "may not


modify a term of imprisonment once it has been imposed," except in three circumstances: (1) upon


a motion for reduction in sentence under 18 U.S.C. § 3582(c)(l)(A); (2) "to the extent otherwise

expressly permitted by statute or by Rule 35 of the Federal Rules of Criminal Procedure," 18




' R. Doc. 79.
2 R. Doc. 83, The Government also filed an updated supplemental response in opposition to the Motion. R. Doc. 90.
3 Di'llon v. Vmted States, 560 U.S. 817, 825 (2010).
         Case 3:07-cr-00060-SDD-EWD               Document 93       06/07/21 Page 2 of 6




U.S.C. § 3582(c)(l)(B); and (3) where the defendant was sentenced based on a retroactively

lowered sentencing range, 18 U.S.C. § 3582(c)(2).


       In this case, Defendant moves to modify his sentence under 18 U.S.C. § 3852(c)(l)(A).

Under § 3852(c)(l)(A)(i), a court may reduce a prisoner's sentence "if it finds that" (1)

"extraordinary and compelling reasons warrant such a reduction" and (2) the reduction is


"consistent with applicable policy statements issued by the Sentencing Commission."


       Prior to 2018 only the Director ofthe BOP could file these kinds of compassionate release

motions. In 2018, Congress passed, and President Trump signed the First Step Act, which among


other actions, amended the compassionate release process. Under the First Step Act, §


3852(c)(l)(A) now allows prisoners to directly petition courts for compassionate release. Before

filing such motions, however, prisoners must exhaust their administrative remedies.


       After a prisoner exhausts his administrative remedies, a district corn! may reduce a


defendant's term of imprisonment if the court finds "extraordinary and compelling reasons warrant


such a reduction" and "such a reduction is consistent with applicable policy statements issued by


the Sentencing Commission." 18 U.S.C. § 3852(c)(l)(A)(i).

                            Extraordinary and Compelling Reasons


       The Sentencing Commissions policy statement regarding compassionate release is


consistent with the statute and provides, in pertinent part, as follows:


               Upon motion of the Director of the Bureau of Prisons under 18 U.S.C. §
               3582(c)(l)(A), the court may reduce a term of imprisonment (and may impose a
               term of supervised release with or without conditions that does not exceed the
               unserved portion of the original term of imprisonment) if, after considering the
               factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable, the
               court determines that-
                       (1) extraordinary and compelling reasons warrant the reduction;...
                       (2) the defendant is not a danger to the safety of any other person or to the
                       community, as provided in 18 U.S.C. § 3142(g); and
                       (3) the reduction is consistent with this policy statement.
        Case 3:07-cr-00060-SDD-EWD               Document 93         06/07/21 Page 3 of 6




       In the commentary following the policy statement, the Sentencing Commission identifies


three specific reasons that are considered "extraordinary and compelling" as well as a broader


provision for reasons deemed extraordinary and compelling."


              1. Extraordinary and Compelling Reasons.—Provided the defendant meets the
              requirements of subdivision (2) [regarding absence of danger to the community],
              extraordinary and compelling reasons exist under any of the circumstances set forth
              below:
                       (A) Medical Condition of the Defendant.-
                               (i) The defendant is suffering from a terminal illness (Le., a serious
                       and advanced illness with an end of life trajectory). A specific prognosis of
                       life expectancy (i.e., a probability of death within a specific time period) is
                       not required. Examples include metastatic solld-tumor cancer, amyotrophic
                       lateral sclerosis (ALS), end stage organ disease, and advanced dementia.
                              (ii) The defendant is—
                                      (I) suffering from a serious physical or medical condition,
                                      (II) suffering from a serious functional or cognitive
                                      impairment) or


                       (B) experiencing deteriorating physical or mental health because of the
                       aging process, that substantially diminishes the ability of the defendant to
                       provide self-care within the environment of a correctional facility and from
                       which he or she is not expected to recover.
                              (B) Age of the Defendant.—The defendant
                                     (i) is at least 65 years old;
                                     (ii) is experiencing a serious deterioration m physical or
                                     mental health because of the aging process; and (iii) has
                                      served at least 10 years or 75 percent of his or her term of
                                      imprisonment, whichever is less.


                       (C) Family Circumstances.—
                              (i) The death or incapacitation of the caregiver of the defendant's
                              minor child or minor children.
                              (ii) The incapacitation of the defendant's spouse or registered partner
                              when the defendant would be the only available caregiver for the
                              spouse or registered partner.


                       (D) Other Reasons.—As determined by the Director of the Bureau of
                       Prisons, there exists in the defendant's case an extraordinary and compelling
                       reason other than, or in combination with, the reasons described in
                       subdivisions (A) through (C). U.S.S.G § 1B1.13 cmt n. 1.
              Case 3:07-cr-00060-SDD-EWD                  Document 93          06/07/21 Page 4 of 6




          In United States v. Shkam.bi, the Fifth Circuit addressed, as a question of first impression,


whether § 1B1.13 and its commentary bind the district court when ruling on motions filed by

defendants on their own behalf after Congress amended §3582(c)(I)(A) to permit such filings. The

Court held "that neither the policy statement nor the commentary to it binds a district court


addressing a prisoner's own motion under § 3582," and "[t]he district court... is bound only by §


3582(c)(l)(A)(i) and, as always, the sentencing factors in § 3553(a).

          Shkambi does not, however, render § 1B 1.13 irrelevant with respect to defendant-filed


motions under § 3582(c)(l)(A). As the Fifth Circuit recognized even before Shkambi, "[ajlthough

not dispositive, the commentary to ...§ 1B1.13 informs our analysis as to what reasons may be


sufficiently 'extraordinary and compelling' to merit compassionate release."6 And other circuits


are in accord.7


          The defendant bears the burden to establish circumstances exist under which he is eligible

for a sentence reduction under 18 U.S.C. § 3582(c)(l)(A)(i).8 The only "extraordinary and

compelling reason" that would apply in this case is "(A) Medical Condition of the Defendant."




4 993 F.3d 388 (5th Cir. 2021).
5 Id. at 393.
6 United States v. Thompson, 984 F.3d 431,433 (5th Cii\ 2021).
7 United States v. Gnnn, 980 F.3d 1178, 1180 (7th Cir. 2020) ("The substantive aspects of the Sentencing
Commission's analysis in § IB1.13 and its Application Notes provide a working definition of 'extraordinary and
compelling reasons'; ajudge who strikes off on a different path risks an appellate holding that judicial discretion has
been abused. In this way the Commission's analysis can guide discretion without being conclusive."); Urn fed States
v. Aruda, 2021 WL 1307884, at *4 (9th Ch\ Apr. 8, 2021) (citing Gww and recognizing "[t]he Sentencing
Commission's statements in U.S.S.G. § 1B1.13 may inform a district court's discretion for § 3582(c)(l)(A) motions
filed by a defendant, but they are not binding").
8 United States v. Enms, EP-02-CR-1430-PRM-1, 2020 WL 2513109, at *4 (W.D. Tex. May 14, 2020) ("[T]he
defendant has the burden to show circumstances meeting the test for compassionate release." (citing United States v,
Sfowe, No. CR H-ll-803 (1), 2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019))); UmtedStates v. Wright, Crim.
Action No. 16-214-04, 2020 WL 1976828, at *6 (W.D. La. Apr. 24, 2020) (Petitioner has the "burden of showing the
necessary cu'cumstances, or a combination of circumstances, that would warrant relief under the compassionate release
statute.").
           Case 3:07-cr-00060-SDD-EWD                    Document 93          06/07/21 Page 5 of 6




                                      Medical Condition of Defendant

         In his request, Defendant alleges that he suffers from hypertension, heart irregularities,


respiratory problems, pre-diabetes, and is overweight.9 Despite these underlying conditions,


Defendant's condition does not present extraordinary or compelling reasons for compassionate


release because he has now been fully vaccinated with the Pfizer-BioNTech COVID-19 vaccine.


In the Fifth Circuit and elsewhere, courts have denied early release to inmates with a variety of


medical conditions who, like Defendant, have been vaccinated for COVID-19.10 Further,


according to www.bop.gov, as of June 3, 2021, at FCI Beaumont Low, where Defendant is


incarcerated, there are only three active cases of COVID-19 among the 1,917 inmates and one


positive staff member. As such, considering that Defendant is fully vaccinated and the low


number of cases at FCI Beaumont low, Defendant has failed to establish the existence of sufficient


reasons based on his medical conditions or the COVID-19 pandemic that would constitute


extraordinary and compelling reasons to warrant relief under the compassionate release statute.




9 R. Doc. 79, pp. 2, 29-30.
10 See United States v. Parham, No. 1:19-CR-133, 2021 WL 1911899, at *2 (S.D. Miss. May 12, 2021) (finding that
"generalized concerns of contracting COVID-19[ ] are not an 'extraordinary and compelling reason' " where the
defendant had received the COVID-19 vaccine); Umted States v. Schad, No. CR 2:17-225-3, 2021 WL 1845548, at
*4 (S,D. Tex, May 5, 2021) (denying compassionate release where the defendant had been fully vaccinated against
COVID-19); United States v. Wakefielcl, No. 1;19-CR-00095, 2021 WL 640690, at *3 (W.D.N.C. Feb. 18, 2021)
("Because [the defendant] has already contracted the virus and recovered without complication, and because he is in
the process of being vaccinated, the [djefendant cannot meet his burden ofestablisliing that his CO VID-19 risk is an
exh-aordinary and compelling reason for his release."); Vmted States v. Gmmmer, No. 08-CR-4402,2021 WL 568782,
at *2 (S.D. Cal. Feb. 16, 2021) (denying compassionate release and noting that "[although Defendant suffers from
several chronic medical conditions, his vaccination significantly mitigates the risk that he will contract COVID-19"),
United States v. Beltran, No. 6:16-CR-00004, 2021 WL 398491, at *3 (S,D. Tex. Feb. 1, 2021) (denying
compassionate release to a high-risk inmate with myriad underlying medical conditions who received the vaccine,
finding that "vaccination significantly reduces [the] risk of contracting COVID-19 or experiencing complications
related to a COVID-19 infection."); accord United States v. Nvnez-Anas, No. CR H-16-436, 2021 WL 1537323, at
*3 (S.D. Tex. Apr. 19,2021).
           Case 3:07-cr-00060-SDD-EWD           Document 93   06/07/21 Page 6 of 6




                                           Conclusion


         For the above and foregoing reasons,


         IT IS ORDERED that the Defendant's Motion11 is DENIED.

         Signed in Baton Rouge, Louisiana on June ^ 2021.




                                                              -^^2t^^
                                        'CHIEF JUD(^6HELLY D. DICK
                                         UNITED STATES DISTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA




1111 R, Doc. 79.
